        Case 2:14-cr-00103-GMN-VCF            Document 245        Filed 10/29/15     Page 1 of 1




1                                      UNITED STATES DISTRICT COURT

2                                          DISTRICT OF NEVADA

3                                                      ***

4

5     UNITED STATES OF AMERICA,

6                         Plaintiff,                      2:14-cr-00103-GMN-VCF
                                                          ORDER
7     vs.

8     JORGE EDUADO SANCHEZ-GARCIA,
9                          Defendant.
10          Before the court is Defendant Jorge Eduado Sanchez-Garcia's counsel's Motion to Withdraw as
11   Counsel of Record. (#244).
12          IT IS HEREBY ORDERED that a hearing on Defendant Jorge Eduado Sanchez-Garcia's counsel's
13   Motion to Withdraw as Counsel of Record (#244) is scheduled for 10:00 a.m., November 5, 2015, in
14   courtroom 3D.
15          The U.S. Marshal is directed to transport defendant to and from the hearing.
16          DATED this 29th day of October, 2015.
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                                                                CAM FERENBACH
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                                                                UNITED STATES MAGISTRATE JUDGE

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